              Case 14-50333-gs        Doc 532      Entered 07/26/19 15:21:48       Page 1 of 3




 1

 2

 3

 4       Entered on Docket
         July 26, 2019
 5___________________________________________________________________

 6                              UNITED STATES BANKRUPTCY COURT

 7                                        DISTRICT OF NEVADA

 8
     In re:                              )             Case No. 14-50333-gs
 9                                       )             Case No. 14-50331-gs
10   ANTHONY THOMAS and,                 )
                                         )             (Jointly Administered)
11   WENDI THOMAS,                       )
                                         )             Chapter 7
12   AT EMERALD, LLC,                    )
                                         )             Hearing on Trustee’s Sale Motion
13
                    Debtors.             )             Date: July 19, 2019
14   ____________________________________)             Time: 1:00 p.m.

15
                               ORDER RE: TRUSTEE’S MOTION FOR
16                            ORDER CONFIRMING SALE BY AUCTION

17            On July 19, 2019, this court held an evidentiary hearing on the chapter 7 trustee’s

18 (Trustee) Motion for Order Confirming Sale by Auction; Request for Approval of Payment of

19 Commission to Stremmel Auctions (ECF No. 430) (Sale Motion). Appearances were as noted

20 on the record. Pursuant to the Sale Procedures Order (ECF No. 510), the bidding on the

21 “Thomas Emerald” was reopened at $21,500, together with a 10% buyer’s premium. Debtor

22 Anthony Thomas submitted an overbid in the sum total of $25,000. Although this bid was, when

23 taking the buyer’s premium of 10% into account, less than the $2,500 overbid increment set forth

24 in the Sale Procedures Order, the chapter 7 trustee agreed to accept the bid, with the next-highest

25 bidder, Ken Tersini, to serve as the back-up bidder. Mr. Thomas is required to submit the

26 $25,000 to the trustee by placing that amount into the trust account in the name of her counsel’s

27 law firm, or otherwise delivering to the trustee’s counsel a certified check such as a cashier’s

28 check, by the close of business on Monday, July 29, 2019. Should Mr. Thomas fail to timely
            Case 14-50333-gs       Doc 532      Entered 07/26/19 15:21:48        Page 2 of 3




 1 provide payment of the $25,000, Mr. Tersini shall have ten (10) days to provide the trustee’s

 2 counsel with the amount of the backup bid.

 3         After establishing the amount of sale price, the court admitted various exhibits into

 4 evidence in support of, and in opposition to, the sale. The parties questioned a representative of

 5 the estate’s auctioneer, Hudson Stremmel, as a witness in support of the sale. Mr. Thomas called

 6 Jeffrey Hartman, counsel for the trustee, as a witness, and concluded his direct examination

 7 before the court adjourned, leaving cross examination and any redirect for a continued hearing.

 8 Mr. Thomas has listed a number of other witnesses for examination in opposition to the sale at a
 9 continued hearing. After discussion with the parties, the court continued the hearing until

10 October 4, 2019, and advised all parties that evidence would be closed at 3:30 p.m. that day, and

11 directed that they adjust their questioning accordingly. The court will allocate the remainder of

12 that time for argument.

13         Therefore,
14         IT IS HEREBY ORDERED that the court has established the sale price for the Thomas
15 Emerald pursuant to the Motion for Order Confirming Sale by Auction; Request for Approval of

16 Payment of Commission to Stremmel Auctions (ECF No. 430) at $25,000, and Anthony Thomas

17 is deemed to be the prevailing high bidder, subject to the following conditions. No later than

18 July 29, 2019 at 5:00 p.m. (PST), Mr. Thomas must tender the full purchase price of $25,000 to

19 the counsel for the chapter 7 trustee, Jeffrey Hartman, at Hartman & Hartman at 510 West Plumb

20 Lane, Suite B, Reno, Nevada 89509. Funds must be tendered either: (1) in person in the form of

21 a certified check made out to chapter 7 trustee “Jerri Coppa-Knudson,” or (2) submitted to the

22 client trust account of Hartman & Hartman via wire or other electronic transfer.

23         IT IS FURTHER ORDERED that, in the event Mr. Thomas does not deliver the $25,000

24 in verified funds to Mr. Hartman by the deadline set forth above, Mr. Hartman will file with the

25 court and send to Mr. Thomas and Mr. Wayne Silver, counsel for back-up bidder Ken Tersini,

26 notice if Mr. Thomas fails to timely tender the purchase funds (Notice).

27         IT IS FURTHER ORDERED that no later than close of business on the tenth day

28 following the date of mailing or emailing of the Notice to Mr. Silver, Mr. Tersini or his counsel
            Case 14-50333-gs       Doc 532      Entered 07/26/19 15:21:48       Page 3 of 3




 1 must tender the full purchase price of $23,650.00 (representing Mr. Tersini’s bid of $21,500 plus

 2 a 10% buyer’s premium of $2,150) to Mr. Hartman. Funds must be tendered either (1) in person

 3 in the form of a certified check made out to chapter 7 trustee “Jerri Coppa-Knudson,” or (2)

 4 submitted to the client trust account of Hartman & Hartman via wire or other electronic transfer.

 5         IT IS FINALLY ORDERED that a continued hearing on the Motion for Order

 6 Confirming Sale by Auction; Request for Approval of Payment of Commission to Stremmel

 7 Auctions (ECF No. 430) is set for October 4, 2019 at 9:00 a.m. in the Clifton Young Federal

 8 Building, 300 Booth Street, Bankruptcy Courtroom, Fifth Floor, Reno, Nevada, before
 9 Bankruptcy Judge Gary Spraker. All evidence to be presented shall be concluded by 3:30 p.m.

10 All witnesses are required to attend in person, and the court shall not admit into evidence any

11 declaration of any witness who is not present for cross examination.

12         IT IS SO ORDERED.
13 * * * * *

14
     Copies sent to all parties via CM/ECF ELECTRONIC NOTICE and via U.S. Mail to:
15
   ANTHONY THOMAS
16 7725 PEAVINE PEAK COURT
   RENO, NV 89523
17

18                                                ###
19

20

21

22

23

24

25

26

27

28
